                           UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF PENNSYLVANIA


LIBERTARIAN PARTY OF PENNSYLVANIA,                               )
et al.,                                                          )
                                                                 )
                                     Plaintiffs,                 )        Case No. 2:20-cv-2299
                                                                 )
                  v.                                             )
                                                                 )
TOM WOLF, in his official capacity as Governor                   )
of Pennsylvania, et al.                                          )
                                                                 )
                           Defendants.                           )


    PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
                      AND PRELIMINARY INJUNCTION

         Pursuant to Federal Rules of Civil Procedure 65(a) and (b), and in view of the public health

crisis precipitated by the coronavirus pandemic known as COVID-19 and the ensuing emergency

measures adopted by the Commonwealth of Pennsylvania, Plaintiffs Libertarian Party of

Pennsylvania (“LPPA”), Constitution Party of Pennsylvania (“CPPA”), Green Party of

Pennsylvania (“GPPA”), Steve Scheetz, Kevin Gaughen, Alan Smith, Timothy Runkle, Bob

Goodrich and Justin Magill1 respectfully move the Court to enter a temporary restraining order

and/or a preliminary injunction that prohibits Defendants from enforcing the provisions of the

Pennsylvania Election Code that require Plaintiffs, as a condition of qualifying for the general

election ballot, to collect a specified number of voters’ signatures on nomination papers during a

period extending from February 19, 2020 until the filing deadline of August 3, 2020. Plaintiffs

specifically request that the Court enjoin Defendants from enforcing 25 Pa. Stat. Ann. §§ 2911

(petitioning requirement) and 2913(b) – (c) (petition circulation period) as applied to Plaintiffs in

the 2020 election cycle.2 Further, Plaintiffs request that the Court direct Defendants to: (1) accept


1
  Plaintiffs’ Verified Complaint incorrectly identifies Sheri Miller as a plaintiff. (Verified Complaint, Dckt. No. 1, at
¶ 16.) As the caption correctly indicates, Ms. Miller is not a plaintiff in this action.
2
  On February 1, 2018, this Court entered an order enjoining enforcement of § 2911(b) and establishing new signature
Plaintiffs LPPA’s, CPPA’s and GPPA’s candidates’ nomination papers for the November 3, 2020

general election without requiring supporting signatures from voters; and (2) place Plaintiffs

LPPA’s, CPPA’s and GPPA’s candidates on Pennsylvania’s November 3, 2020 general election

ballot.

          Plaintiffs certify that Timothy Gates, Chief Counsel of the Commonwealth of Pennsylvania

Governor’s Office of General Counsel has agreed to accept service of process on Defendants’

behalf, and that Attorney Gates has been contacted and provided copies of the Complaint (together

will all Exhibits), this Motion, and Plaintiffs’ Proposed Order. Plaintiffs have requested that

Attorney Gates accept service of process on Defendants via electronic mail.

                                                                 Respectfully submitted,

                                                                 /s/Drew Gray Miller

                                                                 Drew Gray Miller, Esq.
                                                                 PA ID: 207830
                                                                 Anderson & Labovitz, LLC
                                                                 428 Forbes Ave., Suite 1901
                                                                 Pittsburgh, PA 15219
                                                                 Mobile: 412-760-3286
                                                                 Fax: 412-291-1001
                                                                 dmiller@PaLawFirm.com
                                                                 Counsel of Record

Oliver B. Hall                                                   Mark R. Brown
CENTER FOR COMPETITIVE DEMOCRACY                                 303 E. Broad Street
P.O. Box 21090                                                   Columbus, OH 43215
Washington, DC 20009                                             614-236-6590
202-248-9294                                                     mbrown@law.capital.edu
oliverhall@competitivedemocracy.org                              Pro Hac Vice Pending
Pro Hac Vice Pending

                                                                 Attorneys for Plaintiffs


requirements that apply until such time as the Legislature enacts and the Governor signs legislation amending that
provision. See Order, Constitution Party of Pa. v. Aichele, No. 12-2726, Doc. No. 115 (E.D. Pa. February 1, 2018)
(attached to Plaintiffs’ Verified Complaint as Exhibit A). No such legislation has been enacted and this Court’s
February 1, 2018 order remains in effect. As set forth herein, Plaintiffs seek further relief, for the 2020 election cycle
only, due to the practical impossibility and illegality of petitioning under Pennsylvania law as currently applied.
                                                            2
                       UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

LIBERTARIAN PARTY OF PENNSYLVANIA,                     )
et al.,                                                )
                                                       )
                                  Plaintiffs,          )         Case No. 2:20-cv-2299
                                                       )
               v.                                      )
                                                       )
TOM WOLF, in his official capacity as Governor         )
of Pennsylvania, et al.                                )
                                                       )
                       Defendants.                     )

    MEMORANDUM IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR
     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

                              Introduction and Factual Background

       The COVID-19 pandemic has given rise to an extraordinary set of circumstances in

Pennsylvania and nationwide. In an effort to contain the virus and protect the public health, the

Commonwealth of Pennsylvania has implemented several emergency measures that, although

perhaps reasonable in light of the public health crisis, make it impossible for Plaintiffs and other

citizens to comply with the statutory procedures they must follow to participate in Pennsylvania’s

electoral processes. In particular, as voters, petition circulators, candidates and political bodies in

Pennsylvania, Plaintiffs are required by law to obtain voters’ signatures on nomination papers to

qualify their respective candidates for placement on Pennsylvania’s November 3, 2020 general

election ballot. Under the emergency measures now in place, however, Plaintiffs cannot lawfully

comply with these requirements.

       On March 6, 2020, Governor Wolf proclaimed the existence of a disaster emergency

throughout the Commonwealth pursuant to 35 Pa. C.S. § 7301(c). See “Proclamation of Disaster

Emergency”       (March      6,       2020),    available   at      https://www.governor.pa.gov/wp-

content/uploads/2020/03/20200306-COVID19-Digital-Proclamation.pdf              (accessed    May    13,

2020). Thereafter, Governor Wolf issued a number of executive orders that imposed sweeping
restrictions on virtually every aspect of citizens’ daily life and activities. By an order entered on

March 19, 2020, which took effect on March 21, 2020, Governor Wolf required the closure of all

“non-life sustaining businesses” – including “political” organizations – and provided for

“enforcement actions” to be taken against businesses that fail to comply. See “Order of the

Governor of Pennsylvania Regarding the Closure of All Businesses that are not Life Sustaining”

(March 19, 2020).1 On March 23, 2020, Governor Wolf issued a “stay at home” order effective

until April 6, 2020, which required that “all individuals” residing in several counties across the

Commonwealth “stay at home except as needed to access, support, or provide life sustaining

business, emergency, or government services,” and that individuals who leave their homes “must

employ social distancing practices as defined by the Centers for Disease Control and Prevention.”

The order further provided that “gatherings of individuals outside of the home are generally

prohibited except as may be required to access, support or provide life sustaining services.” See

“Order of the Governor of the Commonwealth of Pennsylvania for Individuals to Stay at Home”

(March 23, 2020).2

        Several subsequent orders applied the terms of the Governor’s stay at home order to several

more counties. Then, on April 1, 2020, Governor Wolf entered a statewide “stay at home” order,

to remain in effect until April 30, 2020. See “Order of the Governor of the Commonwealth of

Pennsylvania for Individuals to Stay at Home” (April 1, 2020). 3 On April 22, 2020, Governor

Wolf instituted a process to “reopen Pennsylvania,” to commence on May 8, 2020, pursuant to

which each county in the Commonwealth would be designated as in a “red,” “yellow” or “green”

phase.4 Counties in red phase remain under the stay at home order until at least June 4, 2020; in


1
  https://www.scribd.com/document/452416027/20200319-TWW-COVID-19-Business-Closure-Order.
2
  https://www.scribd.com/document/452929592/03-23-20-TWW-COVID-19-Stay-at-Home-Order.
3
  https://www.scribd.com/document/454418389/04-01-20-GOV-Statewide-Stay-at-Home-Order.
4
  https://www.governor.pa.gov/newsroom/gov-wolf-reopening-targeted-for-may-8-in-north-central-northwest/ and
https://www.governor.pa.gov/process-to-reopen-pennsylvania/.
                                                      2
yellow phase counties, the stay at home order is lifted but “large gatherings of more than 25”

remain prohibited, indoor recreation, personal care facilities and all entertainment facilities must

remain closed, and restaurants and bars are limited to carry-out only service. 5 Further, social

distancing – maintaining at least six feet from other individuals – is required in yellow phase

counties.6 To date, all counties in Pennsylvania are designated as red phase or yellow phase.

          Petitioning to qualify candidates and Political Bodies for Pennsylvania’s November 3, 2020

general election ballot is not defined as an “essential” activity under Governor Wolf’s stay at home

orders.    Moreover, even in yellow phase counties, mandatory social distancing means that

collecting signatures by hand remains a prohibited activity. Consequently, the public health

emergency caused by COVID-19 and the various executive orders issued by Governor Wolf make

it both unlawful and practically impossible to gather signatures for nomination papers throughout

Pennsylvania. As the Governor’s website cautions, law enforcement is authorized to enforce the

Governor’s orders, and “citations are possible for violators….” 7 Given the severity of the COVID-

19 pandemic and its impact on Pennsylvania, it remains uncertain whether petitioning will become

lawful during any part of the statutorily-mandated signature collection period prior to the August

3, 2020 deadline for Political Bodies to file nomination papers. And even if the legal prohibitions

are lifted – including mandatory social distancing requirements – petitioning will remain a

practical impossibility due to the unacceptable risk to the public health posed by personal contact

with large numbers of people during a pandemic.

          On March 30, 2020 and March 31, 2020, respectively, Plaintiffs GPPA and LPPA sent

Governor Wolf and Secretary Boockvar urgent written requests for relief from Pennsylvania’s



5
  Id.
6
  Id.
7
  https://www.governor.pa.gov/newsroom/gov-wolf-announces-13-counties-will-move-to-yellow-phase-ofreopening-
on-may-15/.
                                                     3
petitioning requirements as applied to them in the 2020 election cycle. (Verified Complaint Ex.

B, Ex. C.) Plaintiff CPPA did the same on April 20, 2020. (Verified Complaint Ex. D.) Receiving

no response, on April 29, 2020 Plaintiff LPPA sent Governor Wolf and Secretary Boockvar another

letter reiterating its urgent request for relief, and Plaintiff GPPA did so on April 30, 2020. (Verified

Complaint Ex. E, Ex. F.) On May 4, 2020 – five weeks after initially making their urgent requests

– Plaintiffs LPPA and GPPA received a letter from Timothy Gates, Chief Counsel of the Governor’s

Office of General Counsel, advising that his office is “currently reviewing this matter,” and that

“we will be in touch soon.” (Verified Complaint Ex. G.) To date, Plaintiffs have received no

further response from Defendants.

        Meanwhile, the clock is ticking and the August 3, 2020 deadline for Plaintiffs to file

nomination papers rapidly approaches. Petitioning remains unlawful in Pennsylvania, and there

is no reason to believe it will become legal – much less safe – anytime soon. Plaintiffs therefore

urgently need the relief requested herein, to protect their speech, petitioning, voting, associational

and equal protection rights as guaranteed by the First and Fourteenth Amendments. In the absence

of such relief, Plaintiffs will suffer irreparable harm, because they are prohibited from petitioning

and their respective candidates will be excluded from Pennsylvania’s 2020 general election ballot.

                                                 ***

        This case is precipitated by the COVID-19 pandemic but it does not arise in an historical

vacuum. For more than a decade following the 2004 election cycle, Plaintiffs labored under an

unconstitutional statutory scheme in Pennsylvania, until this Court declared it unconstitutional in

2015. See Constitution Party of Pa. v. Cortes, 116 F.Supp.3d 486 (E.D. Pa. 2015), aff’d., 824 F.3d

386 (3rd Cir. 2016) (holding Pa. Stat. Ann. § 2911(b) unconstitutional as applied in conjunction

with Pa. Stat. Ann. § 2937). That statutory scheme prevented Plaintiffs from participating in

Pennsylvania’s electoral process and decimated the ability of CPPA, GPPA and LPPA to function
                                                   4
as political parties. See generally Constitution Party of Pa. v. Aichele, 757 F. 3d 347 (3rd Cir.

2014). Before they were subject to that unconstitutional statutory scheme, however, CPPA, GPPA

and LPPA routinely complied with Pennsylvania’s ballot access requirements, and in fact, all three

parties were qualified Minor Political Parties in 2002, 2004 and 2006. See id. at 353. They lost

that status not because they lacked the requisite voter support but because Pennsylvania’s

unconstitutional statutory scheme prevented them from participating in the electoral process. See

generally Constitution Party of Pa., 757 F. 3d 347.

       This Court’s February 1, 2018 order in Constitution Party of Pa. (attached as Exhibit A to

the Verified Complaint) provided Plaintiffs with a constitutional procedure to qualify for the ballot,

and that order remains in effect. Now, however, the COVID-19 pandemic and Governor Wolf’s

ensuing executive orders make it unlawful and practically impossible for Plaintiffs to comply with

that procedure. But for these emergency circumstances, Plaintiffs certainly could have and would

have complied with the terms of this Court’s February 1, 2018 order and qualified for placement

on Pennsylvania’s November 3, 2020 general election ballot. Plaintiffs therefore respectfully

request that the Court grant them the relief requested herein for the 2020 election cycle only.

                                      LEGAL STANDARDS

       A district court should grant an ex parte temporary restraining order where “specific facts

in an affidavit or verified complaint clearly show that immediate and irreparable injury, loss or

damage will result to the movant before the adverse party can be heard in opposition.” Fed. R.

App. P. 65(b)(1)(A). The standard for granting a temporary restraining order is the same as that for

granting a preliminary injunction. See Bieros v. Nicola, 857 F. Supp. 445, 446 (E.D. Pa. 1994). To

obtain a preliminary injunction, Plaintiffs must demonstrate that: 1) they have a likelihood of

success on the merits; 2) they will suffer irreparable harm if the injunction is denied; 3) granting

the injunction will not result in even greater harm to the Commonwealth; and 4) the public interest
                                                  5
favors such relief. See NAACP of Pennsylvania v. Cortes, 591 F. Supp. 2d 757, 763 (E.D. Pa. 2008)

(citing Child Evangelism Fellowship of New Jersey, Inc. v. Stafford Township Sch. Dist., 386 F.3d

514, 524 (3rd Cir. 2004)).

                                            ARGUMENT

        I.      Plaintiffs Are Entitled to Preliminary Relief.

                A. Plaintiffs Have a Strong Likelihood of Success on the Merits.

        The extraordinary circumstances from which this case arises make it any easy one to

decide. Under Pennsylvania law as it now exists, Plaintiffs have no lawful procedure by which

they may qualify their candidates for Pennsylvania’s November 3, 2020 general election ballot,

and Defendants have failed to take remedial action to correct this constitutional infirmity.

Plaintiffs are entitled to the relief requested on that basis alone. Plaintiffs are also entitled to the

relief requested because Pennsylvania’s petitioning requirements, as applied here, cannot

withstand constitutional scrutiny under the analytic framework the Supreme Court established in

Anderson v. Celebrezze, 460 U.S. 780 (1983), and Burdick v. Takushi, 504 U.S. 428 (1992).

                        1.      Plaintiffs Are Entitled to Relief Because Pennsylvania Has
                                Failed to Provide Them with Any Procedure for Qualifying for
                                the November 3, 2020 General Election Ballot.

        When states fail to provide candidates and parties with a procedure by which they may

qualify for the ballot, the Supreme Court and lower federal courts have not hesitated to remedy the

defect by placing candidates and parties on the ballot by court order, provided that the candidates

and parties can present evidence that they have a “modicum of support” among the electorate. In

1976, for instance, several states provided no procedure for independent candidates to qualify for

the ballot. In each of these states, independent presidential candidate Eugene McCarthy sought

relief in federal court, and without exception the courts ordered that he be placed on the ballot.

See McCarthy v. Briscoe, 429 U.S. 1317, 97 S. Ct. 10 (1976) (Powell, J. in Chambers) (placing
                                                   6
McCarthy on Texas ballot); McCarthy v. Askew, 540 F.2d 1254, 1255 (5th Cir. 1976) (per curiam)

(affirming order placing McCarthy on Florida’s ballot); McCarthy v. Noel, 420 F. Supp. 799 (D.

R.I. 1976) (placing McCarthy on Rhode Island ballot); McCarthy v. Tribbitt, 421 F. Supp. 1193

(D. Del. 1976) (placing McCarthy on Delaware ballot); McCarthy v. Austin, 423 F. Supp. 990

(W.D. Mich. 1976) (placing McCarthy on Michigan ballot). As Justice Powell observed in

McCarthy v. Briscoe, the Supreme Court had followed the same procedure in 1968, when it ordered

that several candidates who successfully challenged the constitutionality of Ohio’s ballot access

laws be placed on its ballot. See McCarthy v. Briscoe, supra, (citing Williams v. Rhodes, 89 S. Ct.

1, 21 L.Ed.2d 69 (Stewart, J., in Chambers, 1968)).

        In 1980, Michigan had failed to enact a procedure for independent candidates to access the

ballot following the decision in McCarthy v. Austin, supra, and two independent candidates

running for president and vice-president filed suit. See Hall v. Austin, 495 F. Supp. 782 (E.D.

Mich. 1980). Once again, a federal court ordered that the independent candidates be placed on

Michigan’s ballot. See id. at 791-92. The issue arose again in 1984, because Michigan still had

not enacted a procedure for independent candidates to qualify for the ballot. An independent

candidate for the State Board of Education filed suit, the district court again declared Michigan’s

ballot access scheme unconstitutional, and the Secretary of State was ordered to place the candidate

on the ballot. See Goldman-Frankie v. Austin, 727 F.2d 603, 607-08 (6th Cir. 1984).

        In Williams, the Supreme Court explained the rationale for federal courts to grant such

relief: the Constitution does not permit states to restrict access to the ballot in a manner that “favors

two particular parties – the Republicans and the Democrats – and in effect tends to give them a

complete monopoly.” Williams v. Rhodes, 393 U.S. 23, 32 (1968)). Here, the Commonwealth of

Pennsylvania – albeit with the unwanted intrusion of a global pandemic – has accomplished that

same result. The last day for Political Party candidates – i.e., Republicans and Democrats – to
                                                   7
circulate and file nomination petitions to qualify for the primary election ballot was February 18,

2020. Consequently, such candidates were not impacted by Governor Wolf’s various executive

orders imposing emergency measures to contain the COVID-19 outbreak, and the Republican and

Democratic nominees selected by means of Pennsylvania’s taxpayer-funded primary election are

thereby automatically qualified to appear on the 2020 general election ballot. Yet it is unlawful –

a violation of those same executive orders – for Plaintiffs to engage in petitioning, which is the

only procedure that Pennsylvania provides for them to qualify for the general election ballot. The

grounds for this Court’s intervention could not be clearer.

          Pennsylvania did not cause the outbreak of the COVID-19 virus, of course, but that is

immaterial.       Pennsylvania is constitutionally required to provide its citizens with a lawful

procedure to qualify for its general election ballot, and it has failed to do so. Certainly,

Pennsylvania could have adopted measures to remedy this constitutional defect. For instance, on

March 27, 2020, in response to the COVID-19 emergency, Governor Wolf signed legislation that

rescheduled Pennsylvania’s primary election from April 28 to June 2. 8 Yet, while Governor Wolf

has issued several executive orders that impose sweeping changes to Pennsylvania law – and which

incidentally make it impossible for Plaintiffs to qualify for Pennsylvania’s November 3, 2020

general election ballot – Defendants did not respond to Plaintiffs’ urgent requests for relief for five

weeks, and their only response to date is that they are “reviewing this matter” and “will be in touch

soon.” (Verified Complaint Ex. G.) Under these circumstances, Plaintiffs are entitled to an order

granting them ballot access for the November 3, 2020 general election.

          As Justice Powell explained, where a state fails to provide a procedure for candidates to

demonstrate the support necessary to qualify for the ballot, “a court may properly look to available




8
    https://www.votespa.com/About-Elections/Pages/Upcoming-Elections.aspx.
                                                       8
evidence or to matters subject to judicial notice to determine whether there is reason to assume the

requisite community support.” McCarthy, 429 U.S. at 1323. Thus in McCarthy, the Court placed

the plaintiff-candidate on the ballot in reliance on the fact that he was “a nationally known figure”

who had served two terms as a Senator and five terms as a United States Representative. Id. The

Sixth Circuit expressly relied on McCarthy to grant the same relief in Goldman-Frankie. See

Goldman-Frankie, 727 F.2d at 607. In that case, the Court found that the plaintiff’s “demonstration

of the requisite community support was not compelling” – she had twice previously run for

statewide office and received a modest number of votes – but found it “sufficient to warrant the

relief granted by the district court.” Id. at 607-08 &n.4.

       Here, Plaintiffs CPPA, GPPA and LPPA have much stronger evidence of the requisite

community support. Indeed, all three parties consistently demonstrated that support and enjoyed

the status of ballot-qualified Minor Political Parties until Pennsylvania began enforcing an

unconstitutional statutory scheme against them. See Constitution Party of Pa., 757 F. 3d at 353

(“In the 2002, 2004, and 2006 elections, [CPPA, GPPA and LPPA] were each qualified minor

parties ... because each party had a candidate on the preceding general election ballot who polled

the requisite number of votes”). They lost that status not due to a sudden loss in their community

support, but because Pennsylvania’s unconstitutional statutory scheme made it impossible for them

to qualify for the ballot for nearly a decade following the 2006 general election. See Constitution

Party of Pa., 116 F.Supp.3d 486 (E.D. Pa. 2015), aff’d., 824 F.3d 386 (3rd Cir. 2016) (holding §

2911(b) unconstitutional as applied in conjunction with § 2937).

       The ballot access requirements established by this Court’s February 1, 2018 order in

Constitution Party of Pa. remain in effect, and they are substantially less restrictive than the

requirements that applied when CPPA, GPPA and LPPA were ballot-qualified Minor Political

Parties in 2002, 2004 and 2006. Further, in the 2016 presidential election immediately preceding
                                                  9
this one, CPPA, GPPA and LPPA were all ballot-qualified, and their candidates received 21,572,

49,941 and 146,715 votes, respectively. See Dept. of State, 2016 General Election Official

Returns,                                              available                                              at

https://www.electionreturns.pa.gov/General/SummaryResults?ElectionID=54&ElectionType=G

&IsActive=0 (accessed May 18, 2020). In that same election, LPPA’s candidates for United States

Senator, Auditor General and State Treasurer received 235,142 votes, 131,853 votes and 132,654

votes, respectively, while GPPA’s candidates for Auditor General and State Treasurer received

158,942 votes and 170,275 votes respectively. See id. In addition, GPPA and LPPA were ballot-

qualified in 2018, and their candidates for United States Senator received 31,208 votes and 50,907

votes, respectively, while their candidates for Governor received 27,792 votes and 49,229 votes,

respectively. See Dept. of State, 2018 General Election Official Returns, available at

https://www.electionreturns.pa.gov/General/SummaryResults?ElectionID=63&ElectionType=G

&IsActive=0 (accessed May 18, 2020).9

        The foregoing facts demonstrate that CPPA, GPPA and LPPA routinely qualify for

Pennsylvania’s general election ballot when they are not subject to unconstitutional restrictions,

and that hundreds of thousands of Pennsylvanians have voted for their candidates in recent

elections. This evidence demonstrates that these parties enjoy a substantial modicum of support

among Pennsylvania’s electorate, and it is far more compelling than the evidence that federal

courts have found sufficient to justify granting candidates and parties ballot access in analogous

cases. Under the standard established by the Supreme Court and applied in the above-cited cases,


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 Additionally, voter registration data obtained from the Pennsylvania Department of state demonstrates that GPPA
has 9,547 registered members and LPPA has 40,324 registered members as of January 2020. See Richard Winger,
Early 2020 Voter Registration Totals, BALLOT ACCESS NEWS, available at http://ballot-
access.org/2020/03/27/march-2020-ballot-access-news-print-edition/ (accessed May 18, 2020) Current figures are
unavailable for CPPA but CPPA had 1,497 registered members in February 2016. See Richard Winger, February 2016
Registration Totals, BALLOT ACCESS NEWS, available at http://ballotaccess.org/2016/03/27/march-2016-ballot-
access-news-print-edition/ (accessed May 18, 2020).
                                                      10
therefore, Plaintiffs are entitled to that same relief here, for the 2020 general election only. 10

                          2.       Pennsylvania’s Statutory Scheme Cannot                            Withstand
                                   Constitutional Scrutiny as Currently Applied.

        Plaintiffs are also entitled to the relief requested because Pennsylvania’s statutory scheme,

as currently applied, cannot withstand constitutional scrutiny under the Supreme Court’s

Anderson-Burdick analytic framework. Under that analysis, a reviewing court must:

        first consider the character and magnitude of the asserted injury to the rights protected by
        the First and Fourteenth Amendments that the plaintiff seeks to vindicate. It then must
        identify and evaluate the precise interests put forward by the State as justifications for the
        burden imposed by its rule. In passing judgment, the Court must not only determine the
        legitimacy and strength of each of those interests, it also must consider the extent to which
        those interests make it necessary to burden the plaintiff’s rights. Only after weighing all
        these factors is the reviewing court in a position to decide whether the challenged provision
        is unconstitutional.

Anderson, 460 U.S. at 789. This framework establishes a “flexible standard,” according to which

“the rigorousness of our inquiry into the propriety of a state election law depends upon the extent

to which a challenged restriction burdens First and Fourteenth Amendment rights.” Burdick, 504

U.S. at 434. Under this standard, “reasonable, nondiscriminatory restrictions” are subject to less

exacting review, whereas laws that impose “severe” burdens are subject to strict scrutiny. See id.

(citations omitted). But in every case, “However slight [the] burden may appear ... it must be

justified by relevant and legitimate state interests sufficiently weighty to justify the limitation.”

Crawford v. Marion County Election Bd., 553 U.S. 181, 190 (2008) (citation and quotation marks

omitted).

        The burden that Pennsylvania law imposes on Plaintiffs’ First and Fourteenth Amendment

rights as applied here is undeniably severe. For more than six weeks (and even longer in many



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  See also Libertarian Party of Ohio v Husted, No. 2:13-cv-953, 2014 WL 11515569 (S.D. Oh. 2014) (unreported
order entered January 7, 2014 placing Libertarian Party on ballot); Green Party of Tn. v Hargett, 882 F.Supp.2d 959
(M.D. Tenn. 2012) (placing Green Party and Constitution Party on ballot); Socialist Labor Party v Rhodes, 318 F.
Supp. 1262 (S.D. Oh. 1970) (placing Socialist Labor Party on ballot).
                                                        11
counties), it has been unlawful for Plaintiffs to attempt to comply with the only procedure that

Pennsylvania provides for them to qualify for the November 3, 2020 general election ballot. See

25. Pa. Ann. Stat. § 2911.11 Further, the August 3, 2020 deadline for Plaintiffs to submit

nomination papers is rapidly approaching, and there is no telling if and when the legal restrictions

that prohibit Plaintiffs from petitioning will be lifted. And even if the legal restrictions are lifted,

it will remain impossible, as a practical matter, for Plaintiffs to obtain signatures on nomination

papers because doing so would present an unacceptable health risk not only to petition circulators

and potential signers, but also to the general public.

        In a case arising from factually indistinguishable circumstances, Chief Judge Pallmeyer of

the Northern District of Illinois held that Illinois’ petitioning requirements were unconstitutional

as applied in the context of the COVID-19 pandemic. See Libertarian Party of Pa., et al. v.

Pritzker, et al., No. 1:20-cv-02112, 2020 WL 1951687, Dckt. No. 26 (N.D. Il. April 23, 2020). As

Judge Pallmeyer explained:

        The combined effect of the restrictions on public gatherings imposed by Illinois’ stay-at-
        home order and the usual in-person signature requirements in the Illinois Election Code is
        a nearly insurmountable hurdle for new party and independent candidates attempting to
        have their names placed on the general election ballot. The problem is exacerbated … by
        the fact that the “window” for gathering such signatures opened at nearly the same time
        that Governor Pritzker first imposed restrictions. … Notably, from the outset of these
        proceedings, even Defendants have acknowledged that the ballot access restrictions must
        be relaxed, in some shape or form, to account for the havoc that COVID-19 has wreaked.

Id. at PageID 395-96 (citations omitted). Accordingly, Judge Pallmeyer entered an order granting

the plaintiffs’ motion for a preliminary injunction. See Libertarian Party of Pa., No. 1:20-cv-

02112, Dckt. No. 27 (N.D. Il. April 23, 2020), modified by Dckt. No 36 (N.D. Ill. May 15, 2020).

The order provides substantial relief from Illinois’ petitioning requirements. Specifically, it: (1)



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  This Court’s order enjoining enforcement of § 2911(b) establishes new signature requirements but does not modify
the petitioning requirement the provision imposes, which Plaintiffs challenge here. See Order, Constitution Party of
Pa., No. 12-2726, Doc. No. 115 (attached to Plaintiffs’ Verified Complaint as Exhibit A).
                                                        12
grants the plaintiff political parties ballot access in Illinois’ 2020 general election ballot for any

office for which the parties were ballot-qualified in 2018 or 2016; (2) reduces the statutorily-

imposed signature requirements for all other minor party and independent candidates by 90

percent; (3) enjoins enforcement of Illinois’ requirement that nomination petitions be signed with

“wet” handwritten signatures and instead authorizes nomination petitions to be signed

electronically; (4) enjoins enforcement of Illinois’ requirement that original nomination petitions

be submitted, and instead authorizes the electronic submission of photocopies or digital

reproductions; (5) enjoins enforcement of Illinois’ notarization requirement; and (6) extends the

filing deadline from June 22 to July 20, among other relief. See id.

       In another recently-decided case, a federal district court held Michigan’s primary election

ballot access requirements unconstitutional as applied during the COVID-19 pandemic. See

Esshaki v. Whitmer, No. 2:20-CV-10831-TGB, 2020 WL 1979126, at *2, *12 (E.D. Mich. Apr. 20,

2020) (recognizing signature-gathering challenges arising from the COVID-19 pandemic and the

State of Michigan’s stay-at-home directive, ordering that certain candidates “[s]hall be qualified

for inclusion on the August 4, 2020 primary election ballot if the candidate submits fifty percent

of the number of valid signatures required by” a Michigan election law, and ordering Michigan’s

Director of Elections to “adopt and promulgate” appropriate “regulations providing for an

additional optional procedure that allows the collection and submission of ballot petition signatures

in digital form by electronic means such as email”). On appeal, the Sixth Circuit affirmed the

“the district court’s order enjoin[ing] the State from enforcing the ballot-access provisions at issue

unless the State provides some reasonable accommodations to aggrieved candidates.” Esshaki v.

Whitmer, 2020 WL 2185553. __ Fed. Appx. __ (6th Cir., May 5, 2020). It was only in terms of

remedy that the Sixth Circuit remanded the matter to the District Court: “we are instructing the

State to select its own adjustments so as to reduce the burden on ballot access, narrow the
                                                 13
restrictions to align with its interest, and thereby render the application of the ballot access

provisions constitutional under the circumstances.” Id. at *2. The Sixth Circuit also advised the

State that the simplest way to proceed was for it to implement what the District Court had ordered,

id., which is exactly what happened in the end. On May 8, 2020, Michigan agreed to reduce its

signature collection requirement by 50 percent, which is what the District Court had previously

required. See Richard Winger, Michigan Secretary of State Now Agrees to 50% Cut in Number of

Primary Petition Signatures, Ballot Access News, May 8, 2020.12

       And in Utah, Chief Judge Robert Shelby of the federal district court granted relief to a

candidate seeking to run in the Republican Party primary election for governor. See Garbett v.

Herbert, 2:20-cv-245-RJS, 2020 WL 2064101 (April 29, 2020). In that case, the plaintiff had

collected approximately 21,000 signatures to comply with a 28,000-signature requirement by the

April 13, 2020 filing deadline, and alleged that she would have complied with the requirement but

for the burden imposed by the COVID-19 pandemic and the governor’s ensuing orders imposing

“stay at home” and “social distancing” requirements. In granting relief, the Court reasoned that

the plaintiff had been prevented from petitioning for 32 percent of that statutory period, and

therefore reduced Utah’s signature requirement by the same percentage. See id. at *18.

       The Massachusetts Supreme Judicial Court granted similar relief to candidates seeking

access to Massachusetts’ primary election ballot. See Goldstein v. Galvin; SJC-12931 (April 17,

2020) (unreported). In that case, the Commonwealth’s high court reduced the applicable signature

requirements by 50 percent, extended the applicable filing deadlines, and authorized the plaintiffs

to collect signatures using electronic procedures. See id.

       In each of the foregoing cases, the courts readily concluded that the challenged laws


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 https://ballot-access.org/2020/05/08/michigan-secretary-of-state-now-agrees-to-50-cut-in-
number-of-primary-petitions/.
                                              14
imposed severe burdens as applied in the context of the COVID-19 pandemic, and that the

governors’ orders were not narrowly tailored to serve the state’s interests, because they failed to

provide the plaintiffs with a lawful procedure to qualify for the ballot. The challenged provisions

thus failed to withstand constitutional scrutiny under the Anderson-Burdick analysis. The same is

true here.

        To be sure, Pennsylvania has a strong and even compelling interest in protecting the public

health during a pandemic. But no court has ever upheld a ballot access restriction that categorically

excludes all candidates except Republicans and Democrats, and that is what Pennsylvania law does

as applied here. The petitioning period for Republicans and Democrats to qualify for the primary

election ballot concluded before the outbreak of the COVID-19 pandemic, and before Governor

Wolf’s executive orders took effect. Those orders may impose reasonable restrictions to protect

the public health, but they entirely fail to account for the fact that Plaintiffs are required to engage

in petitioning to qualify for Pennsylvania’s November 3, 2020 general election ballot. Indeed, by

their express terms, the orders prohibit Plaintiffs from engaging in the in-person contact necessary

to collect signatures on nomination papers. And despite Plaintiffs’ repeated urgent requests for

relief, Defendants have yet to establish alternative procedures or requirements that would provide

Plaintiffs with a lawful means of qualifying for the ballot. Because petition circulation is

prohibited under Pennsylvania law and practically impossible during the COVID-19 pandemic,

and because Pennsylvania has failed to establish an alternative procedure by which Plaintiffs may

qualify for its general election ballot, the petitioning requirements imposed by §§ 2911 and 2913(b)

– (c) are unconstitutional as applied to Plaintiffs in the 2020 general election cycle.

                B. Plaintiffs Will Suffer Irreparable Harm in the Absence of Preliminary
                   Relief.




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        It is well-settled that the “loss of First Amendment freedoms, for even minimal periods of

time, unquestionably constitutes irreparable injury.” Stilp v. Contino, 613 F.3d 405 (3rd Cir. 2010)

(quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). As the Third Circuit has explained, where the

Court concludes that Pennsylvania’s ballot access requirements are likely unconstitutional as

applied, “it clearly follows that denying [Plaintiffs] preliminary injunctive relief will cause them

to be irreparably injured.” Council of Alternative Political Parties v. Hooks, 121 F.3d 876, 883

(3rd Cir. 1997). Specifically:

        Plaintiffs’ voting and associational rights are burdened by their inability to nominate,
        support, and vote for candidates who represent their beliefs. If the plaintiffs lack an
        adequate opportunity to gain placement on the ballot in this year’s election, this
        infringement on their rights cannot be alleviated after the election.

Id. Unless the Court grants Plaintiffs preliminary relief, they will suffer the same irreparable injury.

                C.      The Balance of Harms Weighs Strongly in Plaintiffs’ Favor.

        The harm that Plaintiffs will suffer in the absence of the requested relief is plain: their

candidates will be excluded from Pennsylvania’s November 3, 2020 general election ballot; voters

will be deprived of the opportunity to hear their political views and to associate with and support

them; CPPA, GPPA and LPPA will be prevented from disseminating and building support for their

platforms among the general electorate; and CPPA, GPPA and LPPA will be denied the

opportunity to win sufficient electoral support to retain ballot access in the next election cycle. The

Supreme Court has expressly relied on such harms to justify granting the relief that Plaintiffs

request here. See, e.g., Norman v. Reed, 502 U.S. 279, 288-89 (1992); Anderson, 460 U.S. at 793-

94; Williams, 393 U.S. at 30-31. The Court’s admonition in Williams applies equally here:

        The right to form a party for the advancement of political goals means little if a party can
        be kept off the election ballot and thus denied an equal opportunity to win votes. So also,
        the right to vote is heavily burdened if that vote may be cast only for one of two parties at
        a time when other parties are clamoring for a place on the ballot.



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Williams, 393 U.S. at 31. This Court’s intervention is amply justified to prevent such harm to

Plaintiffs’ “most precious freedoms.” Id. at 30.

       By contrast, Defendants will not suffer any harm if the Court grants Plaintiffs the requested

relief. CPPA, GPPA and LPPA have qualified for Pennsylvania’s general election ballot with

regularity in past election cycles, and there is no evidence that Pennsylvania sustained any harm

to its electoral processes as a result of their participation. On the contrary, as the Supreme Court

has repeatedly observed, “[h]istorically political figures outside the two major parties have been

fertile sources of new ideas and new programs; many of their challenges to the status quo have in

time made their way into the political mainstream.” Anderson, 460 U.S. at 794; see Ill. Bd. of

Elections v. Socialist Workers Party, 440 U.S. 173, 185-86 (1979); Sweezy v. New Hampshire, 354

U.S. 234, 250-251 (1957). Thus, the continued participation of CPPA, GPPA and LPPA in

Pennsylvania’s electoral process will benefit, not harm, Defendants and the voters of Pennsylvania

generally.

       Moreover, the relief that Plaintiffs request here is precisely the same relief that other states

have granted of their own volition. On March 30, 2020, for example, Vermont enacted legislation

providing that “a person shall not be required to collect voter signatures in order to have the

person’s name placed on any ballot in the year 2020.” See An Act Relating to Government

Operations in Response to the COVID-19 Outbreak, HB 681 (2020), available at

https://legislature.vermont.gov/Documents/2020/Docs/BILLS/H-0681/H-

0681%20As%20Passed%20by%20Both%20House%20and%20Senate%20Official.pdf (accessed

April 2, 2020). The Secretary of State of Connecticut has likewise recommended to that state’s

Governor and Legislature that its petitioning requirements be eliminated, and that all currently-

qualified third parties in the state be granted “automatic ballot access for all races in November…”

See Richard Winger, Connecticut Secretary of State Asks Governor to Suspend Petitioning for
                                                   17
General Election for Parties That Already Have Statewide Status for at Least One Office, Ballot

Access News (March 31, 2020), available at http://ballot-access.org/2020/03/31/connecticut-

secretary-of-state-asks-governor-to-suspend-petitioning-for-general-election-for-parties-that-

already-have-statewide-status-for-at-least-one-office/ (accessed May 18, 2020).

        No harm will come to Defendants or the Commonwealth of Pennsylvania if the Court

grants similar relief here. On the contrary, Defendants will be relieved of the considerable burden

of validating petition signatures during the crunch of the election cycle for parties that have

repeatedly demonstrated a substantial modicum of support among the Pennsylvania electorate. The

balance of harms therefore weighs strongly in Plaintiffs’ favor.

                D.      The Requested Relief Is in the Public Interest.

        Finally, granting Plaintiffs injunctive relief is in the public interest because, as the Supreme

Court has observed, “all political ideas cannot and should not be channeled into the programs of

our two major parties.” Williams v. Rhodes, 393 U.S. 23, 39 (1968) (citation omitted). Yet that is

precisely what will happen in Pennsylvania, due to the COVID-19 pandemic and the Governor’s

ensuing executive orders. Further, “in the absence of legitimate, countervailing concerns,” the

Third Circuit has concluded, “the public interest clearly favors the protection of constitutional

rights, including the voting and associational rights of alternative political parties, their candidates

and their potential supporters.” Council of Alternative Political Parties, 121 F.3d at 883-84.

        Here, there are no legitimate countervailing concerns. Plaintiffs’ request for injunctive

relief arises because Defendants have failed to provide them with a lawful and constitutional

procedure to qualify for Pennsylvania’s November 3, 2020 general election ballot. But “the

enforcement of an unconstitutional law vindicates no public interest.” KA ex rel Ayers, 710 F.3d at

114 (citing ACLU v. Ashcroft, 322 F.3d 240, 251 n. 11 (3rd Cir. 2003) (“Neither the Government



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nor the public generally can claim an interest in the enforcement of an unconstitutional law”)).

Consequently, the public interest weighs in favor of granting Plaintiffs injunctive relief.

       E.      No Bond Is Needed as Security.

       Federal Rule of Civil Procedure 65(c) states that security is required. Courts have often

observed that security is not mandatory under Rule 65(c) and can be dispensed with at the

discretion of the court. See Zambelli Fireworks Mfg., Inc. v. Wood, 593 F.3d 412, 426 (3rd Cir.

2010); Pashby v. Delia, 709 F.3d 307, 331-32 (4th Cir. 2013); Moltan Co. v. Eagle-Picher

Industries, Inc.,55 F.3d 1171, 1176 (6th Cir. 1995). This is especially true in the context of voting

rights and ballot access. See, e.g., Moore v. Brunner, 2008 WL 232530, at *5 (S.D. Ohio 2008).

No security is needed in this case, as preliminary relief threatens no financial harm to Defendant.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully move the Court to grant their Motion for

Preliminary Injunction.

                                                      Respectfully submitted,

                                                      /s/Drew Gray Miller
                                                      Drew Gray Miller, Esq.
                                                      PA ID: 207830
                                                      Anderson & Labovitz, LLC
                                                      428 Forbes Ave., Suite 1901
                                                      Pittsburgh, PA 15219
                                                      Mobile: 412-760-3286
                                                      Fax: 412-291-1001
                                                      dmiller@PaLawFirm.com
                                                      Counsel of Record

Oliver B. Hall                                        Mark R. Brown
CENTER FOR COMPETITIVE DEMOCRACY                      303 E. Broad Street
P.O. Box 21090                                        Columbus, OH 43215
Washington, DC 20009                                  614-236-6590
202-248-9294                                          mbrown@law.capital.edu
oliverhall@competitivedemocracy.org                   Pro Hac Vice Pending
Pro Hac Vice Pending
                                                      Attorneys for Plaintiffs
                                                 19
                        UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA


LIBERTARIAN PARTY OF PENNSYLVANIA,                   )
et al.,                                              )
                                                     )
                              Plaintiffs,            )       Case No. 2:20-cv-2299
                                                     )
                   v.                                )
                                                     )
TOM WOLF, in his official capacity as Governor       )
of Pennsylvania, et al.                              )
                                                     )
                        Defendants.                  )


                                      [PROPOSED] ORDER

        AND NOW, this _________ day of May, 2020, upon consideration of Plaintiffs’ Motion

for Temporary Restraining Order and Preliminary Injunction, and any Opposition filed thereto, IT

IS HEREBY ORDERED that the motion is GRANTED.

        IT IS FURTHER ORDERED that Defendants Kathy Boockvar, Jonathan M. Marks and

their agents are hereby ENJOINED from enforcing the petitioning requirements and filing

deadlines imposed by 25 Pa. Stat. Ann. §§ 2911(b) and 2913(b) – (c) as applied to the nomination

papers submitted by Plaintiffs Constitution Party of Pennsylvania, Green Party of Pennsylvania

and Libertarian Party of Pennsylvania for inclusion on Pennsylvania’s November 3, 2020 general

election ballot.

        IT IS FURTHER ORDERED that Defendant Kathy Boockvar shall place the nominees of

Plaintiffs Constitution Party of Pennsylvania, Green Party of Pennsylvania and Libertarian Party

of Pennsylvania on Pennsylvania’s November 3, 2020 general election ballot, because they have

demonstrated the requisite community support by virtue of their regular presence on

Pennsylvania’s general election ballot in recent election cycles and other evidence in the record.

                                                20
BY THE COURT:

_________________________




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of May, 2020, I filed the foregoing Motion for

Temporary Restraining Order and Preliminary Injunction, on behalf of all Plaintiffs, by means of

the Court’s CM/ECF system, and copies of this motion and the accompanying Verified Complaint

were served upon the following:

Timothy Gates
Chief Counsel
Commonwealth of Pennsylvania Governor’s Office of General Counsel
tgates@pa.gov




                                                   /s/Drew Gray Miller
                                                   Drew Gray Miller
